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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 MARGARET JONES,                                   )
                                                   )
                                 Plaintiff,        )
                                                       No. 19 C 5303
                                                   )
                         v.                        )
                                                       Formerly Case No. 2018 L 013727
                                                   )
                                                       Circuit Court of Cook County, Illinois
 UNITED STATES OF AMERICA,                         )
                                                   )
                                 Defendant.        )

                    NOTICE OF REMOVAL OF A CIVIL ACTION AND
                 SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:         Dorothy Brown                              Philip J. Fowler
              Clerk of the Circuit Court                 Karlin, Fliesher, Falkenburg, LLC
              Richard J. Daley Center, Room 1001         111 W. Washington Street, Suite 950
              50 West Washington Street                  Chicago, Illinois 60602
              Chicago, Illinois 60602


         The United States, by its attorney, John R. Lausch, Jr., United States Attorney for the

Northern District of Illinois, submits this notice of removal of the above-captioned civil action

from the Circuit Court of Cook County, Illinois, to the United States District Court, Northern

District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the following:

         1.       On December 20, 2018, plaintiff Margaret Jones commenced the above civil action

against Dannon Martin, PA-C, alleging negligent medical care.            A copy of the state court

complaint is attached as Exhibit A. For purposes of this lawsuit, Christian Community Health

Center is a private entity that receives grant money from the Public Health Service pursuant to 42

U.S.C. § 233. Dannon Martin, PA-C, was an employee of Christian Community Health Center

and was acting within the scope of his employment with respect to the incidents referred to in the

complaint. Id.
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       2.      This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that Christian

Community Health Center was a private entity receiving grant money from the Public Health

Service and that its employees were acting within the scope of their employment at Christian

Community Health Center with respect to the incidents referred to in the complaint. Exhibit B.

       3.      This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

       4.      Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 42 U.S.C. § 233(c), this civil action is deemed an action against the

United States, and the United States is substituted as the sole federal party defendant in place of

defendant.

       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233 and the United States is substituted as

the defendant in lieu of Dannon Martin, PA-C.


                                              Respectfully submitted,

                                              JOHN R. LAUSCH, Jr.
                                              United States Attorney

                                              By: s/ Gina Brock
                                                 GINA BROCK
                                                 Assistant United States Attorney
                                                 219 S. Dearborn Street
                                                 Chicago, Illinois 60604
                                                 (312) 353-7919
                                                 gina.brock@usdoj.gov




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                                     Certificate of Service

       The undersigned Assistant United States Attorney hereby certifies that in accordance with

Fed. R. Civ. P. 5, LR 5.5, and the General Order on Electronic Case Filing (ECF), the following

document:

         NOTICE OF FILING

         NOTICE OF REMOVAL OF A CIVIL ACTION AND
         SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

was served pursuant to the district court’s ECF system as to ECF filers, if any, and was sent by

certified mail on August 6, 2019, to the following non-ECF filers:


         Philip J. Fowler                           Dorothy Brown
         Karlin, Fliesher, Falkenburg, LLC          Clerk of the Circuit Court
         111 W. Washington Street, Suite 950        Richard J. Daley Center, Room 1001
         Chicago, Illinois 60602                    50 West Washington Street
                                                    Chicago, Illinois 60602




                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

                                             By: s/ Gina Brock
                                                GINA BROCK
                                                Assistant United States Attorney
                                                219 S. Dearborn Street
                                                Chicago, Illinois 60604
                                                (312) 353-7919
                                                gina.brock@usdoj.gov




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                                       CERTIFICATION

       Pursuant to the provisions of 42 U.S.C. § 233, and by virtue of the authority delegated to

me by the Attorney General under 28 C.F.R. § 15.4 and through the United States Attorney for the

Northern District of Illinois, I hereby certify that I have read the complaint in Margaret Jones v.

Dannon R. Martin, PA-C, No. 2018 L 13727 (Circuit Court of Cook County, Illinois), and all

attachments thereto. On the basis of the information now available, I find that at the relevant

times, the Christian Community Health Center was a private entity receiving grant money from

the Public Health Service pursuant to 42 U.S.C. § 233. Further, I certify that Dannon R. Martin,

PA-C, was acting within the scope of his employment at the Christian Community Health Center

with respect to the incidents referred to in the complaint. Accordingly, for purposes of the above

case, Dannon R. Martin, PA-C, is deemed to be an employee of the United States pursuant to 42

U.S.C. § 233, for Federal Tort Claims Act purposes only.


                                              s/ Thomas P. Walsh
                                             THOMAS P. WALSH
                                             Chief, Civil Division
                                             Office of the United States Attorney
                                                 for the Northern District of Illinois

Date: June 21, 2019
